&lt;div data-spec-version="0.0.3dev" data-generated-on="2024-03-24"&gt;
 &lt;div class="generated-from-iceberg vlex-toc"&gt;
 &lt;link href="https://doc-stylesheets.vlex.com/ldml-xml.css" rel="stylesheet" type="text/css"&gt;&lt;/link&gt;
 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/934099358" data-vids="934099358" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt; 1 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Scott Michael Bowers&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 21SC338&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-court"&gt;&lt;b class="ldml-bold"&gt;Supreme Court of Colorado&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;December 14, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="145" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="145" data-sentence-id="162" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_162"&gt;&lt;span class="ldml-cite"&gt;Case No. 18CA1747&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="203" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="203" data-sentence-id="219" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari GRANTED.&lt;/span&gt; &lt;span data-paragraph-id="203" data-sentence-id="266" class="ldml-sentence"&gt;The judgment of the &lt;span class="ldml-entity"&gt;Colorado
 Court of Appeals&lt;/span&gt; is vacated, and &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; is remanded to the
 &lt;span class="ldml-entity"&gt;Colorado Court of Appeals&lt;/span&gt; for reconsideration in light of
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrepeoplevvigil,20sa240,2021co46" data-prop-ids="sentence_266"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;In Re People v. Vigil&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;20SA240&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2021 CO 46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="203" data-sentence-id="476" class="ldml-sentence"&gt;EN BANC.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;